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                    IN THE UNITED STATES BANKRUPCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE:
                                                           )
DOLLY E. FEREBEE-SNIPE                                     )       CHAPTER 7
DEBTOR                                                     )
                                                           )
NEWREZ LLC D/B/A SHELLPOINT MORTGAGE                       )
SERVICING                                                  )       CASE NO. 21-11577-AMC
MOVANT                                                     )
                                                           )
VS.                                                        )       11 U.S.C. SECTION 362 AND
DOLLY E. FEREBEE-SNIPE                                     )       1301
DEBTOR,                                                    )
                                                           )
ROBERT H. HOLBER, ESQ                                      )
TRUSTEE                                                    )



                                             ORDER
         AND NOW, this _______day of ___________, 2021 at Philadelphia, upon failure of
Debtor and the Trustee to file and Answer or otherwise plead, it is:
         ORDERED THAT: The Motion for Relief from the Automatic Stay of all proceedings is
granted and the Automatic Stay of all proceeding, as provided under Section 362 of the Bankruptcy
Abuse Prevention and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Sections 362 and
1301, is modified with respect to the subject premises located at 859 West Chestnut Street,
Coatesville, PA 19320 (“Property), so as to allow Movant, its successors or assignees, to proceed
with its rights and remedies under the terms of the subject Mortgage and pursue its in rem State
Court remedies including, but not limited to, taking the Property to Sheriff’s Sale, in addition to
potentially pursuing other loss mitigation alternatives including, but not limited to, a loan
modification, short sale or deed-in-lieu of foreclosure. Additionally, any purchaser of the Property
at Sheriff's Sale (or purchaser's assignee) may take any legal action for enforcement of its right to
possession of the Property.
                                                                  ___________________________

 Date: August 19, 2021                                                                           BJ.
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VIA US MAIL

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TRUSTEE
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UNITED STATES TRUSTEE
OFFICE OF THE U.S. TRUSTEE
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